                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.1 Page 1 of 9



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                                             8   Timothy Barrett
                                             9
                                            10                     UNITED STATES DISTRICT COURT
                                            11                  SOUTHERN DISTRICT OF CALIFORNIA
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                                            12   TIMOTHY BARRETT,                         Case No.:   '13CV0526 MMA NLS
  27 00 N. Ma in S tr e et, S te . 1 00 0
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                                                 INDIVIDUALLY AND ON
                                            13   BEHALF OF ALL OTHERS                     CLASS ACTION COMPLAINT
                                                 SIMILARLY SITUATED,                      FOR DAMAGES
                                            14
                                                               Plaintiff,                 JURY TRIAL DEMANDED
                                            15
                                                                       v.
                                            16
                                            17   SPECIAL T TRAVEL
                                                 SERVICE, INC.,
                                            18
                                                              Defendants.
                                            19
                                            20
                                                                                   I NTRODUCTION
                                            21
                                                 1.    TIMOTHY BARRETT (“Plaintiff”) brings this class action for damages,
                                            22
                                                       injunctive relief, and any other available legal or equitable remedies,
                                            23
                                                       resulting from the illegal actions of SPECIAL T TRAVEL SERVICES,
                                            24
                                                       INC. and its related entities, subsidiaries and agents (“Defendant”) in
                                            25
                                                       willfully employing and/or causing to be employed certain recording
                                            26
                                                       equipment in order to record to the telephone conversations of Plaintiff
                                            27
                                                       without the knowledge or consent of Plaintiff, in violation of California
                                            28


                                                 C LASS A CTION C OMPLAINT   FOR   D AMAGES                      PAGE 1 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.2 Page 2 of 9



                                             1         Penal Code §§ 630 et seq., thereby invading Plaintiff’s privacy. Plaintiff
                                             2         alleges as follows upon personal knowledge as to their own acts and
                                             3         experiences, and, as to all other matters, upon information and belief,
                                             4         including the investigation conducted by his attorneys.
                                             5   2.    California Penal Code § 632.7 prohibits one party to a telephone call from
                                             6         intentionally recording the same conversation without the knowledge or
                                             7         consent of the other while the person being recorded is on a cellular
                                             8         telephone. There is no requirement under California Penal Code § 632.7
                                             9         that the communication be confidential. Plaintiff alleges that Defendant
                                            10         continues to violate Penal Code § 632.7 by impermissibly recording its
                                            11         telephone conversations with California residents while said residents are on
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                                            12         cellular telephones.
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                                            13                                J URISDICTION     AND   V ENUE
                                            14   3.    Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff, a
                                            15         resident of the State of California, seeks relief on behalf of a California
                                            16         class, which will result in at least one class member belonging to a different
                                            17         state than that of Defendants, a company incorporated in the State of Florida
                                            18         and principal place of business in Florida. Plaintiff also seeks the greater of
                                            19         statutory damages of $2,500 per violation or three times actual damages per
                                            20         violation pursuant to Penal Code § 632.7, which, when aggregated among a
                                            21         proposed class number in the tens of thousands, exceeds the $5,000,000
                                            22         threshold for federal court jurisdiction. Therefore, both diversity jurisdiction
                                            23         and the damages threshold under the Class Action Fairness Act of 2005
                                            24         (“CAFA”) are present, and this Court has jurisdiction.
                                            25   4.    Venue is proper in the United States District Court for the Southern District
                                            26         of California pursuant to 28 U.S.C. § 1391(b).
                                            27                                          P ARTIES
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                                                 C LASS A CTION C OMPLAINT     FOR   D AMAGES                          PAGE 2 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.3 Page 3 of 9



                                             1   5.    Plaintiff is, and at all times mentioned herein was, an individual citizen and
                                             2         resident of the State of California.
                                             3   6.    Plaintiff is informed and believes, and thereon alleges, that Defendant is, and
                                             4         at all times mentioned herein was, a company whose principal place of
                                             5         business is in Florida and State of Incorporation is Florida. Defendant has a
                                             6         policy and practice of recording telephone conversations, including cellular
                                             7         telephone conversation, with the public, including California residents.
                                             8         Defendant’s employees and agents are directed, trained and instructed to,
                                             9         and do, record, the telephone conversations with the public, including
                                            10         California residents.
                                            11                                 F ACTUAL A LLEGATIONS
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                                            12   7.    Defendant is, and at all times mentioned herein was, a professional
  27 00 N. Ma in S tr e et, S te . 1 00 0
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                                            13         corporation. Plaintiff is informed and believes, and on the basis of that
                                            14         information and belief alleges, that at all times mentioned in this Complaint,
                                            15         Defendants were the agents and employees of their co-defendants, and in
                                            16         doing the things alleged in this Complaint, were acting within the course and
                                            17         scope of that agency and employment.
                                            18   8.    At all times relevant, Plaintiff was an individual residing within the State of
                                            19         California.
                                            20   9.    Since January 2013, Plaintiff had numerous telephone communications with
                                            21         certain employees, officers and/or agents of Defendant.
                                            22   10.   Specifically, on February 26, 2013, Defendant contacted Plaintiff by cellular
                                            23         telephone in order to solicit Plaintiff’s business.       After speaking with
                                            24         Defendant for a period of time, Plaintiff inquired as to whether the
                                            25         conversation was being recorded and Defendant responded for the first time
                                            26         that Defendant records all calls between Defendant and consumers.
                                            27
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                                                 C LASS A CTION C OMPLAINT     FOR   D AMAGES                         PAGE 3 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.4 Page 4 of 9



                                             1   11.   Plaintiff had no reasonable expectation that any of Plaintiff’s telephone
                                             2         conversations with Defendant would be recorded due to the private subject
                                             3         matter being discussed.
                                             4   12.   Plaintiff was shocked to discover that such a confidential communication
                                             5         was being recorded by Defendant without Plaintiff’s knowledge or consent.
                                             6   13.   Plaintiff found Defendant’s clandestine recording to be highly offensive due
                                             7         to the delicacy of the topics discussed during said conversations.
                                             8   14.   Had Plaintiff been warned at the outset that Plaintiff’s cellular telephone
                                             9         communication with Defendant was being recorded, Plaintiff would not
                                            10         have engaged in said telephonic communication.
                                            11   15.   Each of these conversations with Plaintiff, were without Plaintiff’s
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                                            12         knowledge or consent, recorded by Defendant, causing harm and damage to
  27 00 N. Ma in S tr e et, S te . 1 00 0
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                                            13         Plaintiff.   Prior to Plaintiff’s query on the matter, Plaintiff was never
                                            14         informed that Plaintiff’s telephone calls were being recorded. At no time
                                            15         during these calls did Plaintiff give consent for the telephone calls to be
                                            16         recorded.
                                            17   16.   Plaintiff is informed and believes, and thereon alleges, that during the
                                            18         relevant time period, Defendant has had a policy and a practice of recording
                                            19         telephone conversations with consumers. Defendant’s employees and agents
                                            20         are directed, trained and instructed to, and do, record telephone
                                            21         conversations with the public, including Plaintiff and other California
                                            22         residents.
                                            23   17.   Plaintiff is informed and believes, and thereon alleges that from the
                                            24         beginning of 2012 to the present, Defendant has installed and/or caused to be
                                            25         installed certain recording equipment in its employees’ or agents’ telephone
                                            26         lines. Defendant uses these devices to record each and every telephone
                                            27         conversation on said telephone lines.
                                            28


                                                 C LASS A CTION C OMPLAINT   FOR   D AMAGES                           PAGE 4 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.5 Page 5 of 9



                                             1   18.   Plaintiff is informed and believes, and thereon alleges, that during the
                                             2         relevant time period, Defendant has had all of its calls to the public,
                                             3         including those made to California residents, recorded without the
                                             4         knowledge or consent of the public, including Plaintiff and other California
                                             5         residents.
                                             6   19.   Defendant’s conduct alleged herein constitutes violations of the right to
                                             7         privacy to the public, including Plaintiff and other California residents, and
                                             8         California Penal Code § 630 et seq.
                                             9                            C LASS A CTION A LLEGATIONS
                                            10   20.   Plaintiff brings this action on behalf of himself and on behalf of all others
                                            11         similarly situated (“The Class”).
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                                            12   21.   Plaintiff represents, and is a member of, “The Class” defined as follows:
  27 00 N. Ma in S tr e et, S te . 1 00 0
   Sa nta An a, Ca lifor nia 92 705




                                            13         “All persons in California whose inbound and outbound cellular telephone
                                            14         conversations were recorded without their consent by Defendant within one
                                            15         year prior to the filing of the original Complaint in this action.”
                                            16   22.   Defendant, and its employees and agents are excluded from The Class.
                                            17         Plaintiff does not know the number of members in The Class, but believes
                                            18         this number to be in the tens of thousands, if not more. Thus, this matter
                                            19         should be certified as a Class action to assist in the expeditious litigation of
                                            20         this matter.
                                            21   23.   This suit seeks only damages and injunctive relief for recovery of economic
                                            22         injury on behalf of The Class and it expressly is not intended to request any
                                            23         recovery for personal injury and claims related thereto. Plaintiff reserves the
                                            24         right to expand The Class definitions to seek recovery on behalf of
                                            25         additional persons as warranted as facts are learned in further investigation
                                            26         and discovery.
                                            27
                                            28


                                                 C LASS A CTION C OMPLAINT    FOR   D AMAGES                            PAGE 5 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.6 Page 6 of 9



                                             1   24.   The joinder of The Class members is impractical and the disposition of their
                                             2         claims in the Class action will provide substantial benefits both to the parties
                                             3         and to the Court. The Class can be identified through Defendant’s records.
                                             4   25.   There is a well-defined community of interest in the questions of law and
                                             5         fact involved affecting the parties to be represented. The questions of law
                                             6         and fact to The Class predominate over questions which may affect
                                             7         individual Class members, including the following:
                                             8         a. Whether Defendant has a policy of recording incoming and/or outgoing
                                             9            calls;
                                            10         b. Whether Defendant has a policy of recording incoming and/or outgoing
                                            11            calls initiated to a cellular telephone;
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                                            12         c. Whether Defendant discloses to callers and/or obtains their consent that
  27 00 N. Ma in S tr e et, S te . 1 00 0
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                                            13            their outgoing telephone conversations were being recorded;
                                            14         d. Whether Defendant’s policy of recording outgoing calls to cellular
                                            15            telephones constituted a violation of California Penal Code § 632.7
                                            16         e. Whether Plaintiff, The Class were damaged thereby, and the extent of
                                            17            damages for such violations; and
                                            18         f. Whether Defendants should be enjoined from engaging in such conduct
                                            19            in the future.
                                            20   26.   Plaintiff is asserting claims that are typical of The Class because every other
                                            21         member of The Class, like Plaintiff, was exposed to virtually identical
                                            22         conduct and are entitled to the greater of statutory damages of $2,500 per
                                            23         violation pursuant to California Penal Code § 632.7.
                                            24   27.   Plaintiff will fairly and adequately represent and protect the interests of The
                                            25         Class in that Plaintiff has no interest antagonistic to any member of The
                                            26         Class. Plaintiff has retained counsel experienced in handling class action
                                            27         claims to further ensure such protection.
                                            28


                                                 C LASS A CTION C OMPLAINT    FOR   D AMAGES                           PAGE 6 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.7 Page 7 of 9



                                             1   28.   Plaintiff and the members of The Class have all suffered irreparable harm as
                                             2         a result of the Defendant’s unlawful and wrongful conduct. Absent a class
                                             3         action, The Class will continue to face the potential for irreparable harm. In
                                             4         addition, these violations of law will be allowed to proceed without remedy
                                             5         and Defendant will likely continue such illegal conduct. Because of the size
                                             6         of the individual Class member’s claims, few, if any, Class members could
                                             7         afford to seek legal redress for the wrongs complained of herein.
                                             8   29.   A class action is a superior method for the fair and efficient adjudication of
                                             9         this controversy. Class-wide damages are essential to induce Defendant to
                                            10         comply with federal and California law. The interest of The Class members
                                            11         in individually controlling the prosecution of separate claims against
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                                            12         Defendant is small because the maximum statutory damages in an individual
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   Sa nta An a, Ca lifor nia 92 705




                                            13         action for violation of privacy are minimal. Management of these claims is
                                            14         likely to present significantly fewer difficulties than those presented in many
                                            15         class claims.
                                            16   30.   Defendant has acted on grounds generally applicable to The Class, thereby
                                            17         making appropriate final injunctive relief and corresponding declaratory
                                            18         relief with respect to The Class as a whole.
                                            19                              F IRST C AUSE O F A CTION
                                            20         I NVASION   OF   P RIVACY : V IOLATION     OF   P ENAL C ODE § 632.7
                                            21   31.   Plaintiff incorporates by reference all of the above paragraphs of this
                                            22         Complaint as though fully stated herein.
                                            23   32.   California Penal Code § 632.7 prohibits in pertinent part “[e]very person
                                            24         who, without the consent of all parties to a communication…intentionally
                                            25         records, or assists in the…intentional recordation of, a communication
                                            26         transmitted between…a cellular radio telephone and a landline telephone.”
                                            27         Thus, on its face, California Penal Code § 632.7 precludes the recording of
                                            28         all communications involving a cellular telephone.


                                                 C LASS A CTION C OMPLAINT   FOR   D AMAGES                           PAGE 7 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.8 Page 8 of 9



                                             1   33.   Though similar, California Penal Code § 632 and 632.7 are not duplicative
                                             2         and protect separate rights. California Penal Code § 632.7 grants a wider
                                             3         range of protection to conversations where one participant uses a cellular
                                             4         phone or cordless phone. For example, the “confidential communication”
                                             5         requirement of California Penal Code § 632 is absent from California Penal
                                             6         Code § 632.7
                                             7   34.   As before, Defendant caused to be employed certain recording equipment on
                                             8         the telephone lines of all employees, officers, directors, and managers of
                                             9         Defendant.
                                            10   35.   Plaintiff is informed and believes, and thereupon alleges, that all these
                                            11         devises were maintained and utilized to record each and every outgoing
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                                            12         telephone conversation over said telephone lines.
  27 00 N. Ma in S tr e et, S te . 1 00 0
   Sa nta An a, Ca lifor nia 92 705




                                            13   36.   Said recording equipment was used to record the telephone conversations of
                                            14         Plaintiff and the members of The Class utilizing cellular telephones, all in
                                            15         violation of California Penal Code § 632.7.
                                            16   37.   Based on the foregoing, Plaintiff and the members of The Class are entitled
                                            17         to, and below herein do pray for, their statutory remedies and damages,
                                            18         including but not limited to, those set forth in California Penal Code § 632.7;
                                            19         and California Penal Code § 637.2
                                            20   38.   Because this case is brought for the purposes of enforcing important rights
                                            21         affecting the public interest, Plaintiff and The Class seek recovery of their
                                            22         attorney’s fees pursuant to the private attorney general doctrine codified in
                                            23         Code of Civil Procedure § 1021.5, or any other statutory basis.
                                            24                                P RAYER F OR R ELIEF
                                            25         Wherefore, Plaintiff respectfully requests the Court grant Plaintiff, The Class
                                            26   members the following relief against Defendant:
                                            27   39.   That this action be certified as a class action on behalf of The Class and
                                            28         Plaintiff be appointed as the representative of The Class;


                                                 C LASS A CTION C OMPLAINT   FOR   D AMAGES                           PAGE 8 OF 9
                                                 Case 3:13-cv-00526-MMA-NLS Document 1 Filed 03/06/13 PageID.9 Page 9 of 9



                                             1   40.   For $2,500 per violation of California Penal Code § 632.7 for Plaintiff and
                                             2         each member of The Class;
                                             3   41.   Injunctive relief in the form of an order requiring Defendant to disgorge all
                                             4         ill-gotten gains and awarding Plaintiff, The Class full restitution of all
                                             5         monies wrongfully acquired by Defendant by means of such unfair and
                                             6         unlawful conduct;
                                             7   42.   That the Court preliminarily and permanently enjoin Defendant from
                                             8         recording each and every oncoming and outgoing telephone conversation
                                             9         with California resident, including Plaintiff and The Class, without their
                                            10         prior consent, as required by California Penal Code § 630, et seq., and to
                                            11         maintain the confidentiality of the information of Plaintiff and The Class;
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                                            12   43.   For exemplary or punitive damages;
  27 00 N. Ma in S tr e et, S te . 1 00 0
   Sa nta An a, Ca lifor nia 92 705




                                            13   44.   For costs of suit;
                                            14   45.   For prejudgment interest at the legal rate; and
                                            15   46.   For such further relief as this Court deems necessary, just, and proper.
                                            16                                      TRIAL BY JURY
                                            17         Pursuant to the seventh amendment to the Constitution of the United States
                                            18   of America, Plaintiff is entitled to, and demands, a trial by jury.
                                            19
                                            20
                                                 Date: March 4, 2013
                                            21
                                                                                                       KAZEROUNI LAW GROUP, APC
                                            22
                                            23                                                       By: _/s Abbas Kazerounian_____
                                                                                                          ABBAS KAZEROUNIAN, ESQ.
                                            24
                                                                                                             ATTORNEY FOR PLAINTIFF
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                                                 C LASS A CTION C OMPLAINT    FOR   D AMAGES                           PAGE 9 OF 9
